           EXHIBIT A5




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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION



   FRANK CARBONE, ANDREW CORZO,
   SAVANNAH ROSE EKLUND, SIA HENRY,
   MICHAEL MAERLANDER, BRANDON PIYEVSKY,
   KARA SAFFRIN, and BRITTANY TATIANA
   WEAVER, individually and on behalf of all others             Case No.: 22-cv-00125
   similarly situated,

                                 Plaintiffs,                    Hon. Matthew F. Kennelly

                                  v.

   BROWN UNIVERSITY, CALIFORNIA INSTITUTE
   OF TECHNOLOGY, UNIVERSITY OF CHICAGO,
   THE TRUSTEES OF COLUMBIA UNIVERSITY IN
   THE CITY OF NEW YORK, CORNELL
   UNIVERSITY, TRUSTEES OF DARTMOUTH
   COLLEGE, DUKE UNIVERSITY, EMORY
   UNIVERSITY, GEORGETOWN UNIVERSITY, THE
   JOHN HOPKINS UNIVERSITY, MASSACHUSETTS
   INSTITUTE OF TECHNOLOGY, NORTHWESTERN
   UNIVERSITY, UNIVERSITY OF NOTRE DAME DU
   LAC, THE TRUSTEES OF THE UNIVERSITY OF
   PENNSYLVANIA, WILLIAM MARSH RICE
   UNIVERSITY, VANDERBILT UNIVERSITY, and
   YALE UNIVERSITY,

                                  Defendants.


                                CASE MANAGEMENT ORDER #1

          Per the Court’s ruling during the September 2, 2022 Status Hearing and its Order dated

  September 2, 2022, the Court enters the following case Management Order jointly submitted by

  the parties..

          (1)     Pretrial schedule

          The pretrial schedule for this matter is attached as Appendix 1.



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        (2)    Joint Status Report

               The parties shall file a Joint Status Report on November 7, 2022, in which the

               parties shall update the Court on (a) the status of discovery, (b) the parties’

               respective positions on any discovery disputes that have become ripe, and (c) the

               parties’ positions on mediation.

        (3)    Modifications to the limits on discovery

               A. Depositions of Non-Expert Witnesses. The parties will meet-and-confer
                  regarding the number of non-expert witness depositions and submit a proposed
                  order (or competing orders if the parties are unable to reach agreement) on
                  December 23, 2022.

               B. Interrogatories. Plaintiffs may collectively propound no more than 45 written
                  interrogatories, including all discrete subparts, on any defendant. Defendants
                  may collectively propound no more than 45 written interrogatories, including
                  all discrete subparts, on any plaintiff.

               C. Requests for Admission. Plaintiffs may collectively propound no more than
                  50 written requests for admission on each defendant. Defendants may
                  collectively propound no more than 50 written requests for admission on each
                  plaintiff.



  IT IS SO ORDERED.



  Date: September 8, 2022                    __________________________________________
                                             Hon. Matthew F. Kennelly
                                             United States District Judge




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  Dated: September 7, 2022                  Respectfully submitted,


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                                             APPENDIX 1

                                 EVENT                                          DEADLINE


    Answer Under FRCP 12                                                September 9, 2022


    Parties to submit proposed stipulated orders re ESI, deposition
    protocol, and expert discovery, and if not stipulated to, a joint   September 16, 2022
    motion setting out the disputes

    Parties to submit proposed stipulated orders re. confidentiality
    and FERPA and, if not stipulated to, a joint motion setting out     October 21, 2022
    the disputes.

    Parties to submit joint status report                               November 7, 2022

                                                                        November 14, 2022
    Status Hearing
                                                                        8:45 a.m.

    Parties to Submit Status Report to Court Setting Forth Any
    Areas of Dispute Regarding Custodians, Non-Custodial                December 2, 2022
    Document Sources, and Search Methodologies


    Deadline to Begin Rolling Production of Documents in
                                                                        December 16, 2022
    Response to RFPs Served on or Before September 19, 2022

    Parties will submit a proposed order (or competing orders if the
    parties are unable to reach agreement) on the number of non-        December 23, 2022
    expert witness depositions.

    Substantial completion of Structured Data in Response to RFPs
                                                                        February 13, 2023
    Served on or Before September 19, 2022 1


    Substantial completion of Document Production in Response to
                                                                        March 3, 2023
    RFPs Served on or Before September 19, 2022

                                                                        July 31, 2023

1
 To the extent applicable to the requested information, meeting this deadline is subject to the parties’
compliance with the Family Educational Rights and Privacy Act. See 20 U.S.C. § 1232g; 34 C.F.R. Part
99.



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                                 EVENT                                            DEADLINE

    Substantial completion of Document Production in Response to
    RFPs Served on or Before March 31, 2023

    Motion to Amend Pleadings
                                                                          July 31, 2023

    Close of Fact Discovery                                               January 31, 2024 2

    Opening Expert Reports (Class Certification and Merits) on All
    Issues on Which a Party Has the Burden off Proof                      March 15, 2024


    Opposition Expert Reports (Class Certification and Merits)            May 17, 2024


    Rebuttal Expert Reports (Class Certification and Merits)              August 2, 2024


    Close of Expert Discovery                                             September 13, 2024 3


    Daubert Motions                                                       October 18, 2024


    Motion for Class Certification                                        October 18, 2024


    Daubert Oppositions                                                   November 15, 2024


    Opposition to Motion for Class Certification                          November 15, 2024


    Daubert Replies                                                       December 20, 2024


    Reply in Support of Class Certification                               January 8, 2025

    Daubert and/or Class Certification Hearing

2
 All RFPs must be served at least 75 days before the close of fact discovery. All interrogatories must be
served at least 45 days before the close of fact discovery.
3
    Expert depositions are to be taken during the period between August 2, 2024 and September 13, 2024.


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                        EVENT                                  DEADLINE

                                                        Court’s discretion


                                                        March 7, 2025
Summary Judgment Motions

Summary Judgment Oppositions                            April 11, 2025


Summary Judgment Replies
                                                        May 12, 2025

Summary Judgment Hearing                                Court’s discretion


Pre-Trial Conference                                    Court’s discretion


Trial                                                   Court’s discretion




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